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CaSe 2215-Cr-OOOl4-APG-VCF

Omar Qazi
N.S.D.C.
2190 E. Mesquite Ave.

Pahrump, Nevada

UNITED S'I`ATES OF AMERICA

Persecutor,

vs.
Omar Qazz'

Accused.

 

 

Standby Counsel.

 

Certiflcation: This Objection is being filed timely.

____ F|LED
___ENTERED

 

UNITED STATES DISTRICT COURT

DISTRICT OF NEVADA

*'k~k

Case No. 2:15-cr-00014-APG-VCF

Objection to 396 Order, and Substitution of Standby

Counsel

COMES NOW, Omar Qazi, Sui Juris, by Special Appearance, hereby filing this Objection to 396 Order,
and Substitution of Standby. For the reasons outlined in the attached Mernorandum of Points and

Authorities, I request that this Honorable Court enter an order granting this Objection, and Substitute

 

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MEMORANDUM OF POINTS AND AUTHORITIES

The magistrate's Order (Dkt.# 396) claims that the accused "does not detail how the current
private investigator's efforts towards locating the witnesses have been inadequate." Id. at l. However, it
can be reasonably inferred from the circumstances that the current private investigator has not put an
adequate effort into locating these witnesses. The first Witness List (Dkt.#280) was filed on January 03,
2017, but that was not the first time that I have requested the investigator to locate these three potential
witnesses (Sherry Ray, Crystal Clamenza, and Edgar Reyes). I have requested the investigator to locate
these witnesses since the beginning of his appointment, which was approximately the start of 2016.

I had also informed the court regarding this matter. See Dkt.# 298, at 2, filed 02/16/2017 ("I am
requesting the Court to hold a hearing to determine if` another investigator should be appointed I have
requested Mr. Retke for several months to locate some of the witnesses that I intend to call for trial and
he has not located or spoken to a single witness yet.") However, the court never addressed this issue.

Nonetheless, It is evidently apparent that the current investigator has not applied a diligent effort
within this prolonged period of time to locate a single witness. Nor has there been an atempt to assist on
several other substantial matters or to keep any significant communication. A Private Investigator's
profession is to investigate, but this investigator also claimed that he has no access to public records or to
information that is generally easy to find. The fact that this investigator was a police officer in the past,
may be the reason for his personal bias towards the accused. The court should also note that the last time
l spoke with Mr. Retke was February of 2017, while preparing for trial.

Furthermore, the court should note that current standby counsel (Telia U. Williams) has not
spoken with the accused since November 09, 2017. Therefore, l clearly have had no meaningful
assistance on any procedural matters that standby counsel should be helping with. For example, I have
been attempting to find out how to provide the government with some recent documents, and digital files
that will be shown at trial. The last time I mailed discovery documents directly to the government, I
received no response of receipt.

In McKaskle v. Wiggins, 465 U.S. 168, 176, 104 S. Ct. 944, 79 L. Ed. 2D 122 (1984), the U.S.
Supreme Court held that the court may "appoint a 'standby counsel' MMMML§_

accused requests help, and to be available to represent the accused in the event that termination of the

 

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defendant's self-representation is necessary." See also United States v. Dougherty, 473 F.2d 1113, 154

U.S. App. D.C. 76 (D.C. Cir. 1972) (holding "The energy and time toll on the trial judge, as fairness calls
him to articulate ground rules and reasons that need not be explained to an experienced trial counsel, can
be relieved, at least in part, by appointment of an amicus curiae to assist the defendant. If defendant
refrains from intentionally obstructive tactics, amicus would be available to provide advice on
procedure and strategy.") Dougherty, 473 F.2d at 1124 -25.

However, current standby counsel has not been available in any way, and has ignored my
previous requests f`or procedural assistance in November of 2017. Perhaps because Ms. Williams also
serves as a sit in judge in the state court, she may have a personal bias towards me due to my attacks
upon the state court. She may also have a conflict of interest with AUSA John Patrick Burns who has
previously appeared on behalf of Nevada (See Exhibit #1) for the state conviction that is currenlty being
litigated in a post-conviction petition, and this state conviction is one of the elements of the current
federal charge.

Additionally, Ms. Williams had also explained through a letter that she does not assist on
appellate issues, and that my detention appeal was beyond her scope as standby. This was explained prior
to the Ninth Circuit appointing her as counsel. Thereafcer, I was forced to find an appellate attorney in
order to provide an expedited appeal on my detention appeal, and because she was ignoring me. Ms.
Williams eventually withdrew from the Ninth Circuit, and should also have also withdrawn from this
court. Therefore, the accused requests the court to substitute Ms. Williams for a different standby
counsel.

CONCLUSION

For the reasons mentioned above, I humny pray that the Court enter an order granting this
Objection, and Substitute Standby Counsel. I declare under penalty of perjury under the law of the State
of Nevada that the foregoing is true and correct, and that this document is executed without the benefit of
a notary pursuant to NRS 208.165, as I am a prisoner confined in a private prison within this state of
Nevada.

Executed on February 08, 2018.

Respectf`ully submitted,

 

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CaSe 2215-Cr-OOOl4-APG-VCF

Signed:

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All Rights Reserved and Without Prejudice,

Omar Qazi

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EXHIBIT# l

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cLARK. coUNTY, NEVADA

THE STATE OF NEVADA,

Plaintiff.

VS.

OM)AR QAZ|,

Defendant.

CASE NO. C273567
DEPT. Xl

 

 

 

BEFORE THE HONORABLE EL|ZAB`ETH GONZALEZ,. D|STR|CT COURT JUDGE

MONDAY. JUNE 24. 2013

RECORDER’S TRANSCR|PT OF

DEFT’S PRO SE MOTION FCR EV|DENT|ARY HEAR|NG DEMANDED

STATUS CHECK: FlLE; BR|EF|NG SCHEDULE

APPEEARANCES:
For te State:

For tr e Defendant:

 

JOHN PATR|CK BURNS. ESQ.
Deputy District Attomey

BRENT PER‘C|VAL, ESQ.

Recon/e'd by:. J|LL HA`WK|NS.'Court Recorder

000212

 

 

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Certificate of Service

I hereby certify that on February 08, 2018, I mailed my Objection to 396 Order, to the
following:

Clerk of the Court

Lloyd D. George U.S. Courthouse
333 Las Vegas Blvd. South, Rm. 1334
Las Vegas, Nevada

Zip Code Exempt (DMM 122.32)

*Copy of Receipt Requested*

Omar Qazi

N.S.D.C.

2190 E. Mesquite Ave.

Pahrump, Nevada

Zip Code Exempt (DMM 122.32)

 

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